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                        UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF OKLAHOMA


  DARYL WHEELER,                                       )
                                                       )
                         Plaintiff,                    )
                                                       )
  v.                                                   )       Case No. 13-CV-0421-CVE-TLW
                                                       )
  SPIRIT AEROSYSTEMS, INC.,                            )
                                                       )
                         Defendant.                    )


                                            JUDGMENT

         This matter has come before the Court for consideration and an Opinion and Order granting

  summary judgment in favor of defendant Spirit Aerosystems, Inc. has been entered. Judgment for

  the defendant and against the plaintiff is hereby entered pursuant to the Court’s Opinion and Order.

         IT IS SO ORDERED this 13th day of January, 2015.
